Case 2:22-cv-00184-LCB-CWB Document 560-13 Filed 05/27/24 Page 1 of 12




            EXHIBIT 163
Case 2:22-cv-00184-LCB-CWB Document 560-13 Filed 05/27/24 Page 2 of 12

  Journal of Sex & Marital Therapy
  https://doi.org/10.1080/0092623X.2022.2136117


  Letter to the Editor

  What Are We Doing to These Children? Response to Drescher,
  Clayton, and Balon Commentaries on Levine et al., 2022
  Stephen B. Levinea, E. Abbruzzeseb and Julia W. Masonc
  a
   Case Western Reserve University Department of Psychiatry, 6415 Gates Mills Blvd, Mayfield Heights, 44124,
  United States; bSociety for Evidence-Based Gender Medicine, Twin Falls, 83301-5235, United States; cCalcagno
  Pediatrics, Gresham, Oregon




  Introduction
  In our paper, “Reconsidering Informed Consent for Trans-Identified Children, Adolescents, and
  Young Adults” (Levine, Abbruzzese, & Mason, 2022), we asserted that the consent process for
  youth gender transition is so problematic in much of the Western world that it can no longer
  be considered “informed.”
     We reflected on how far the entire field of gender medicine has drifted from the principles
  of evidence-based medicine and the scientific method. Attempts to study the sharp rise of gender
  dysphoria in previously gender-normative teens (Bradley, 2022; Littman, 2018) are met with
  consternation by the gender-medicine establishment (World Professional Association for
  Transgender Health [WPATH], 2018). The significant rate of problematic adaptations, psychiatric
  symptoms, and self-harm in this youth cohort (Becerra-Culqui et al., 2018; de Graaf, Giovanardi,
  Zitz, & Carmichael, 2018; de Graaf et al., 2021; Kaltiala-Heino, Sumia, Työläjärvi, & Lindberg,
  2015; Kozlowska, Chudleigh, McClure, Maguire, & Ambler, 2021; Strang et al., 2018; Thrower,
  Bretherton, Pang, Zajac, & Cheung, 2020) is explained away as merely manifestations of minority
  stress, with unsubstantiated claims that these mental health problems will resolve with gender
  transition—and only with gender transition. Efforts to help the distressed teens psychotherapeu-
  tically, which is the standard approach for all other types of psychiatric symptoms, are stigmatized
  as conversion therapy. The growing evidence of detransition, apparent in recent data (Boyd,
  Hackett, & Bewley, 2021; Hall, Mitchell, & Sachdeva, 2021; Roberts, Klein, Adirim, Schvey, &
  Hisle-Gorman, 2022), is either dismissed or recast as a benign gender journey (Turban, Loo,
  Almazan, & Keuroghlian, 2021), and the reports of regret by many of the detransitioners them-
  selves are ignored (Littman, 2021; Vandenbussche, 2022). Perhaps most problematic, the infor-
  mation shared by gender clinicians with patients and families about “gender-affirming” interventions
  is markedly skewed: it overstates the demonstrated benefits of hormones and surgeries and
  trivializes their risks and the uncertainties of future outcomes.
     Our critical ethical evaluation also included proposed solutions. We suggested that clinicians
  familiarize themselves with the difference between the classical early-onset of cross-sex identi-
  fication, which typically spontaneously resolves before adulthood (Ristori & Steensma, 2016;
  Singh, Bradley, & Zucker, 2021), and the novel presentation of youth with postpubertal onset
  of gender dysphoria and a much wider range of gender identities, for whom the outcomes are
  unknown. We suggested that rather than merely deferring to their medical societies’ wholesale
  adoption of “gender-affirmative” guidelines from the gender medicine establishment, clinicians
  would benefit from scrutinizing the unconvincing results from key studies. We implored

  CONTACT Stephen B. Levine          sbl2@case.edu      Case Western Reserve University Department of Psychiatry, 6415 Gates
  Mills Blvd, Mayfield Heights, 44124, United States.
  © 2022 Taylor & Francis Group, LLC
Case 2:22-cv-00184-LCB-CWB Document 560-13 Filed 05/27/24 Page 3 of 12
  2     S. B. LEVINE ET AL.


  clinicians to slow down and engage patients and families in thorough and thoughtful discussions
  not only of the possible benefits but also the significant risks and uncertainties inherent in a
  medically dependent lifetime.
     The editor invited four respected academicians to write commentaries (Balon, 2022; Clayton,
  2022; Drescher, 2022; de Vries, 2022). Two agreed that current trends are problematic and must
  be addressed to safeguard youth from harm (Balon, 2022; Clayton, 2022). Two disagreed, but
  in very different ways (Drescher, 2022; de Vries, 2022). Drescher took a decidedly civil rights-based
  perspective, arguing that while the evidence is low quality, ultimately, the principles of body
  autonomy should trump all other concerns. de Vries conceded that the evidence base for pedi-
  atric gender transition suffers from deficiencies but asserted that it is of sufficient quality to
  widely scale hormonal and surgical “gender-affirming” interventions.
     Below, we provide our thoughts about the first three commentaries we received (Drescher,
  2022; Clayton, 2022; Balon, 2022), starting with our response to Drescher. We have responded
  to de Vries (2022) in a separate forthcoming publication.


  Response to Drescher
  Drescher’s commentary (Drescher, 2022) illuminated the mindset of clinicians who are aware of
  the limitations of the evidence base of youth gender transition, yet actively promote medical-
  ization while eschewing any noninvasive treatment alternatives. Drescher ridiculed the title of
  our publication (Levine et al., 2022) by naming his own commentary “Informed Consent or
  Scare Tactics?” Having carefully examined his objections to our paper, we, in turn, suggest that
  Drescher’s commentary would have been better titled “Risks, Schmisks”— as it succinctly sum-
  marizes his counterarguments.
     Drescher mocked our suggestion for a slow and deliberate informed consent process for youth
  embarking on a medicalized lifetime with a skit in which a patient receives extensive disclosures
  of the risks of taking aspirin for a headache. While Drescher referred to his writing exercise as
  a “parody,” it is a generous description, and not just because some might find it lacking in
  humor; the situations he compares are not even remotely equivalent. Even prolonged aspirin
  use increases the absolute risk of severe bleeding by just 0.47% (Zheng & Roddick, 2019). In
  contrast, 100% of children will be rendered sterile if puberty is blocked at Tanner Stage 2 and
  followed with cross-sex hormones, as currently suggested by the Endocrine Society (Hembree
  et al., 2017). While the risks of exogenous sex hormones have been well-documented and led
  to a black box warning from the FDA (Jeffrey, 2003; Togun, Sankar, & Karaca-Mandic, 2022),
  there is now mounting evidence of the detrimental effects of puberty blockers on a range of
  physiological parameters (Nokoff et al., 2021) including bone density (Biggs, 2021; Klink, Caris,
  Heijboer, van Trotsenburg, & Rotteveel, 2015; Nokoff, Ma, Moreau, & Rothman, 2022). We think
  a better example of using comedy to make a point is a skit by comedian Bill Maher, who
  recently noted that bone density is “kind of important if you like having a skeleton” (Maher, 2022).
     The exuberant irreverence of Drescher’s commentary extended to his discussion of the evi-
  dence base for youth gender reassignment, with the suggestion that the GRADE designation of
  low-quality evidence is merely a “a scary buzzword” (Drescher, 2022, p. 3). To clarify, the Grading
  of Recommendations Assessment, Development and Evaluation (GRADE) is an international
  best practice in evidence evaluation, which provides a structured way to assess key factors that
  increase or decrease confidence of findings in a body of evidence (GRADE Working Group,
  2013). The GRADE ratings of “very low” and “low” quality—the only two ratings that the body
  of evidence for youth gender reassignment has ever received—indicate that the true effect of
  hormones and surgeries is likely markedly different from the results reported by the studies
  (Balshem et al., 2011; Reed & Guyatt, n.d.). The problem is not that the field of youth gender
  reassignment has not yet produced “enough” studies, as Drescher’s own phrasing of “low levels
  of evidence” suggests; the actual problem is that none of the numerous studies produced to date,
  individually or collectively as a body of evidence, are reliable or trustworthy. This is because
Case 2:22-cv-00184-LCB-CWB Document 560-13 Filed 05/27/24 Page 4 of 12
                                                                Journal of Sex & Marital Therapy   3


  all the available studies are uncontrolled observational studies subject to bias, confounding, or
  chance (National Institute for Health and Care Excellence [NICE] 2020a, 2020b).
      Drescher also incorrectly asserted that the reason the evidence base for gender transition has
  been graded as very low/low quality is due to the “absence of randomized clinical trials (RCTs)”
  (Drescher, 2022 p. 3). While it is true that data from a body of randomized controlled trials
  (whether the comparator is placebo or another active intervention) starts with the presumption
  of high quality, it can be downgraded to low quality if there are serious concerns arising from
  risk of bias, imprecision, inconsistency, indirectness, and publication bias. Conversely,
  non-randomized study of an intervention (e.g., an observational study) can be upgraded to
  moderate or high quality when there is a large magnitude of effect; a demonstrated dose-response
  relationship; and when the potential confounders are not expected to inflate the outcomes in a
  positive direction—in other words, when the research signals plausible, sizeable benefits (Reed
  & Guyatt, n.d.). The problem is not that quality research in the space of gender medicine is
  not feasible; it is that increasingly, gender clinicians who lead the studies view the matter as
  settled science, and as a result do not bother to design research capable of producing high or
  even moderate quality evidence. Even more troubling, when called out, such clinicians insist
  that using rigorous study designs in pediatric gender medicine is unethical (Turban, Almazan,
  Reisner, & Keuroghlian, 2022).
      Nor is it correct to assume that randomization is unethical. According to the principle of
  research equipoise, “when there is uncertainty or conflicting expert opinion about the relative
  merits of diagnostic, prevention, or treatment options, allocating interventions to individuals in
  a manner that allows the generation of new knowledge (randomization)” is ethically permissible
  (London, 2017, p. 525). That “gender-affirming” interventions are administered to youth “based
  on very limited data” and that long-term outcomes are unknown has been acknowledged by
  even the most ardent proponents of pediatric gender transition (Olson-Kennedy et al., 2019, p.
  2). Rigorous research has been conducted in other “high stakes” areas of medicine and has led
  to the development of highly effective treatments, as evidenced by the advances in pediatric
  oncology (Berg, 2007). Pediatric gender medicine cannot claim an exceptional status when it
  comes to the quality of research it must undertake.
      Drescher is also incorrect in stating that “none of the surgical procedures … are performed
  on children with GD/GI [gender dysphoria/gender incongruence]” (Drescher, 2022, p. 4). We
  have seen the claim that “gender-affirming surgery is not performed on children” repeated with
  increasing frequency. We are not sure whether this assertion hinges on the definition of a “child”
  as someone who has not yet had their 13th birthday; or if it is a case of blissful ignorance by
  those inexperienced with this patient population. Patients as young as 12-13 have been obtaining
  “gender-affirming” mastectomies in the United States for several years, as evidenced by the data
  from the National Institutes of Health (NIH)-funded research (Olson-Kennedy, Warus, Okonta,
  Belzer, & Clark, 2018, Figure); research from a large U.S. healthcare system (Tang et al., 2022,
  Figure 2); and a recent publication in JAMA Pediatrics (Ascha et al., 2022). The latter asserted
  strong benefits of mastectomies for youth based on the finding that the young people were no
  longer “dysphoric” about their chest appearance a mere 3 months post-surgery. Version 8 of the
  WPATH “Standards of Care,” published in September 2022, ratified the notion that surgeries
  should be available to youth when it removed previously stated minimum age limits for
  “gender-affirming” surgical procedures (Block, 2022; Coleman et al., 2022).
      Setting Drescher’s misunderstanding of the evidence aside, his fundamental problem with our
  paper appears to be that we did not outline treatment alternatives to “gender affirmation” for
  youth gender dysphoria—beyond psychotherapy. Yet, psychotherapy is exactly what Sweden—the
  first country in the world to legally recognize transgender people—and Finland recommend as
  the first (and typically only) line of treatment for gender dysphoric youth (COHERE, 2020;
  Socialstyrelsen, 2022a, 2022b). The UK is now moving in a similar direction, calling on clinicians
  to lean on their existing skills in mental health support of gender dysphoric youth, and to not
  “exceptionalise gender identity issues” (Cass, 2022). With these recent changes, Europe is
Case 2:22-cv-00184-LCB-CWB Document 560-13 Filed 05/27/24 Page 5 of 12
  4     S. B. LEVINE ET AL.


  returning to the proven axiom taught to medical students early in their training: “when you
  hear hoofbeats, think of horses not zebras.” In this context, the profound gender-related distress
  that has engulfed Western youth in recent years is much more likely to be a novel manifestation
  of the identity formation struggles of youth, rather than a rare intractable “mismatch” between
  the body and the brain that must be medically and surgically corrected.
      We are puzzled about why Drescher, a psychoanalyst himself, dismissed the contribution of
  his own field to the management of gender dysphoria in youth by describing it as “just talk”
  (Drescher, 2022, p. 4). More disheartening, however, is that he chose to conflate psychotherapy
  for gender dysphoria with “conversion therapy.” The notion that psychotherapy was a missing
  element in their care was endorsed by detransitioners, who say that a better understanding of
  the nature of their gender distress would have helped them avoid irreversible and deeply regret-
  table medical interventions (Littman, 2021; Vandenbussche, 2022).
      While Drescher appeared comfortable with recommendations to change anatomy, physiology,
  and create the need for lifelong “gender-affirming” interventions based on low quality evidence,
  he was quick to disdain the alternative of psychotherapy because it “lack[s]… empirical evidence”
  (Drescher, 2022, p. 4). It is, of course, untrue that psychotherapy for gender dysphoria in youth
  lacks “empirical evidence”; what it lacks is high quality evidence. Rigorous comparative trials of
  psychotherapeutic approaches to gender dysphoria in youth are urgently needed. However, if
  Drescher undertakes a literature search, he will discover that beyond the article by Schwartz
  (2021), to which he dedicated a significant part of his response, there is a growing body of (low
  quality) evidence that psychotherapy can ameliorate gender distress in youth and can reduce or
  eliminate the need for invasive medical interventions (Bonfatto & Crasnow, 2018; Churcher
  Clarke & Spiliadis, 2019; Evans, 2022; Hakeem, 2012; Lemma, 2018; Spiliadis, 2019). Psychotherapy
  to “resolve confusion [about gender feelings] and come to self acceptance was also a key part
  of the Dutch protocol (de Vries et al., 2006, p. 87).
      The concern that vulnerable adolescents and young adults do not get appropriate mental
  health evaluation and treatment and are effectively rushed into transition, has been voiced not
  only by the “critics,” as Drescher asserts, but also by the supporters of “gender-affirmative”
  interventions such as Dr. Erika Anderson—a psychotherapist, transgender woman, and recent
  President of the US branch of WPATH, USPATH (Anderson, 2022). There is a convincing body
  of evidence that gender dysphoria frequently occurs in lesbian and gay youth (Bryant, 2006;
  Cantor, 2020, Appendix 1; Korte et al., 2008). It also disproportionately affects autistic youth
  (Bradley, 2022; Hisle-Gorman et al., 2019; Thrower et al., 2020), as well as vulnerable individuals
  who have experienced various forms of trauma (D’Angelo et al., 2021; Kozlowska et al., 2021).
  We would have expected Drescher to support the notion that young gay and autistic people
  suffering from gender dysphoria deserve access to noninvasive treatment alternatives that avoid
  life-long health risks and do not render them sterile.
      A second reason for Drescher’s objection to our publication is that he viewed our recom-
  mendation for delay in irreversible medical interventions as putting the interests of “cisgender”
  gender dysphoric youth above the interests of “transgender” youth. We remind Drescher that
  the predictive validity of the youth gender dysphoria (or gender incongruence) diagnoses is
  unknown (Davy & Toze, 2018; Paris, 2015; Zucker, 2010), and that no criteria exist for how to
  reliably differentiate youth who will desist from a transgender identity as adults, from those for
  whom this identity will be life-long. That the majority of trans-identified children will not be
  trans-identified adults is well established (Ristori & Steensma, 2016; Singh et al., 2021). The
  notion that trans-identified teens or young people do not desist, which seems to have been
  uncritically adopted by gender clinicians, is patently untrue, as demonstrated by a growing
  number of studies of detransitioners, the majority of whom do not identify as transgender after
  they medically detransition (Littman, 2021; Vandenbussche, 2022). Recent data from gender
  clinics show that the rate of medical detransition is now reaching 10-30% within just a few years
  after the initiation of transition (Boyd et al., 2021; Hall et al., 2021; Roberts et al., 2022); this
Case 2:22-cv-00184-LCB-CWB Document 560-13 Filed 05/27/24 Page 6 of 12
                                                                Journal of Sex & Marital Therapy    5


  percentage will likely grow as the patients reach the 10 + year mark when regret has been noted
  to typically emerge (Dhejne, Öberg, Arver, & Landén, 2014; Wiepjes et al., 2018).
      Drescher chose to engage in ad hominem attacks on those involved in the publication of our
  paper. He referenced an anonymous libelous blog in his attempt to discredit the US registered
  nonprofit organization, the Society for Evidence-Based Gender Medicine (SEGM) and fanned
  the flames of baseless insinuations by inventing a non-existent association between SEGM and
  anti-homosexual groups. In questioning SEGM’s goals, Drescher changed SEGM’s name, substi-
  tuting “evidence-based” with “empirical-based,” and inadvertently revealed a lack of understanding
  of the difference between these two concepts. “Empirical-based” medicine relies on expert opinion
  backed by only minimal research. It is also known as “eminence-based.” In contrast, the cor-
  nerstone of “evidence-based medicine” is a rigorous, impartial evaluation of the evidence to
  assess its certainty, which allows for truly informed decision-making (Drisko & Friedman, 2019).
  SEGM’s stated goal is to help gender medicine move past its current “empirical-based” status
  and toward the rigorous principles of evidence-based medicine. While Drescher failed to identify
  any inaccuracies in the information disseminated by SEGM, he did find fault with the authors’
  disclosure of an association with SEGM. We remind him and other researchers that such dis-
  closures are an ethical requirement for publications and are not optional. Unfortunately, disclo-
  sures of interest, including conflicts of interest, such as when pharmaceutical companies pay
  authors promoting the benefits of “gender-affirmative hormones,” are often omitted, and only
  come to light months after the research conclusions have been widely publicized (Erratum for
  TURBAN 2019-1725., 2021). Another rarely disclosed conflict of interest in pediatric gender
  medicine is the fact that the investigators of the studies are commonly the same clinicians who
  are prescribing or administering “gender-affirming” interventions. This is perhaps the single
  most problematic source of bias in current research, since the investigators have a significant
  intellectual (and sometimes financial) stake in “demonstrating” that their work produced positive
  results (Boutron et al., 2022).
      We invite Drescher to examine his own potential conflicts of interest and intellectual biases,
  including the possibility that his decade-long advocacy to de-pathologize gender dysphoria in
  the diagnostic categories of DSM and ICD (Drescher, Cohen-Kettenis, & Winter, 2012) may
  have created a confirmation bias. Had Drescher critically engaged with the fact that over 70%
  of gender dysphoric youth presenting for care had been diagnosed with a mental illness or
  neurocognitive disorder prior to the onset of gender dysphoria (Becerra-Culqui et al., 2018),
  perhaps he would see the reason behind the recommendation for psychotherapy as the first and
  even only line of treatment, pending reaching maturity.
      We share Drescher’s concerns about the politicization of transgender health care, as some
  states move to issue harsh penalties for those who provide gender transition services to minors.
  We agree that regulating treatments for gender dysphoria is best handled by the medical estab-
  lishment self-correcting, rather than allowing politicians to make medical decisions. Drescher
  does not seem to realize, however, the extent to which his own attitude, shared by many gender
  clinicians, that youth gender transitions must continue without restraint before any reliable data
  are available, has contributed to this polarization. Drescher’s concern for the wellbeing of gender
  dysphoric youth is palpable, and we share it, even if he finds that hard to believe. What the
  field needs now is more reliable outcome data, not more passion and political rhetoric.


  Response to Clayton
  In the process of comparing our informed consent recommendations to those authored by
  WPATH’s affiliate AusPATH, Clayton revealed that the guidance widely used in Australia and
  New Zealand is not entirely data dependent. Given AusPATH’s close links to WPATH, we agree
  with Clayton that her commentary “holds much relevance to the international context” (Clayton,
  2022b p. 1).
Case 2:22-cv-00184-LCB-CWB Document 560-13 Filed 05/27/24 Page 7 of 12
  6     S. B. LEVINE ET AL.


     Clayton juxtaposed two sets of opposing claims regarding the evidence for “gender affirmation”
  of youth: the claim by advocates of this practice who insist that data show significant benefits
  and low risks, and the assertions of critics that the benefits are highly uncertain, and the risks
  are significant. She suggested that this contradiction may be resolved by engaging in “close
  reading of the cited primary sources” (Clayton, 2022b p. 3). As Clayton’s prior research demon-
  strated, there is a troubling “asymmetry” in how the results from gender clinics-based research
  are frequently reported: “[f]indings of positive outcomes of medical interventions are trumpeted
  in abstracts, while their profound limitations remain behind the paywall, thus, below the radar
  of busy clinicians” (Clayton et al., 2022, p. 3). Once the individual studies are scrubbed of
  uncertainty in the abstracts, the evidence enters a new cycle of laundering where “[n]ew pub-
  lications reference prior ones with increasing and unwarranted confidence” (Clayton et al.,
  2022, p. 3).
     Unfortunately, not only individual studies, but even systematic reviews of evidence, which
  generally reside on the highest rung of the evidence pyramid, can suffer from bias. Clayton’s
  prior research focused on a problematic “systematic review” by Rew, Young, Monge, and Bogucka
  (2021), which exemplified a “concerning trend to overstate the evidence underpinning clinical
  practice recommendations for youth with GD [gender dysphoria]” (Clayton et al., 2022, p. 3).
     We see similar problems in the review commissioned by WPATH as the basis for its “Standards
  of Care 8” (Baker et al., 2021). This review failed to examine any physical health risks of hor-
  monal interventions and found only low-quality or insufficient evidence of psychological benefits
  due to high risk of bias in study designs, small sample sizes, and confounding with other
  interventions. This did not preclude the authors from endorsing “hormone therapy,” including
  puberty blockers and cross-sex hormones for youth as an “essential component of care” (Baker
  et al., 2021, p. 13.). These conclusions, which cannot be substantiated by the review’s actual
  findings, have since been used by WPATH to issue the recommendations to treat gender dys-
  phoria medically, stating that “delay in transition” is rarely advisable and should only be used
  as a “last resort” (Coleman et al., 2022, p. S37).
     It is worth noting that Baker, the lead author of the WPATH-comissioned systematic review,
  appears to have coauthored another highly flawed evidence review widely known by its pithy
  subtitle, “What We Know” (Frank & Baker, 2018). Baker’s commitment to generating research
  that furthers a policy agenda to promote access to hormones is well-publicized (Health Policy
  Research Scholars, 2019). Had the goal been scientific accuracy, rather than political advocacy,
  the title of that review would have been “What We Don’t Know.”
     It is notable that when led by researchers with no intellectual or financial conflicts of interest,
  evidence reviews universally find the benefits of pediatric gender reassignment unconvincing,
  and the unquantified risks of harm alarming. This includes recent evidence reviews commissioned
  by health authorities in the UK (NICE, 2020a, 2020b); Sweden (SBU, 2022); Finland (Pasternack,
  Söderström, Saijonkari, & Mäkelä, 2019), and most recently, the state of Florida in the United
  States (Brignardello-Peterson & Wiercioch, 2022).
     Clayton reminded readers that advancing from the current lack of evidence requires rigorous
  study designs capable of generating high quality evidence. She illustrated the importance of
  rigorous research designs by invoking the placebo effect—the well-established powerful influence
  of “the whole therapeutic ritual, including medical marketing” that “affects the patient’s
  neuro-psycho-biological state…” (Clayton, 2022b, p. 5). Clayton questioned the extent to which
  the observed short-term improvement reported by uncontrolled studies may be subject to the
  placebo effect, with clinicians themselves operating under a “therapeutic illusion” enabled in
  part by the widespread promotion of the expected benefits of gender transition in “social media,
  and celebrity culture” (p. 5). She noted that when “interventions have high risk of serious and
  irreversible adverse effects” (p. 5), rigorous study designs that control for these factors are
  essential.
     Clayton also reflected on the blurred line that separates “innovative clinical practice,” which
  can be offered widely by any willing provider, from “research,” which is subject to a tightly
Case 2:22-cv-00184-LCB-CWB Document 560-13 Filed 05/27/24 Page 8 of 12
                                                                        Journal of Sex & Marital Therapy   7


  regulated process. She questioned whether “affirming” interventions for youth can only ethically
  be performed in research settings, in view of these interventions’ irreversible effects and the
  risks involved to very young individuals. This is the direction that Sweden recently assumed
  (Socialstyrelsen, 2022a, 2022b). In the U.S., such a change is not likely to come from the Federal
  government, but it can take place at the state level, as U.S. laws delegate the responsibility to
  regulate the practice of medicine to individual states. If this were to happen, gender clinics in
  participating states might be more motivated to design research that generates useful data to
  answer the unanswered questions about outcomes.
     Having interrogated the evidence, Clayton concluded, “[a]ny claims of certainty are premature
  and risk more harm than benefit” and observed that the gender medicine establishment’s mis-
  guided insistence that the science is settled “hinder[s] the rigorous debate and research required
  to improve the state of knowledge in this area of medicine” (Clayton, 2022b, p. 6). Clayton’s
  overview of medicine’s misadventures detailed in her previous publication (Clayton, 2022a), and
  in the relevant examples in her present commentary (Clayton, 2022b), provide a powerful argu-
  ment to all clinicians to reconsider their informed consent processes for youth gender transitions.
  We highly recommend her erudite commentary to all individuals in the field.


  Response to Balon
  Balon reinforced, elaborated, and provided historical perspective of the importance of a “serious,
  thorough, and careful” legal and ethical informed consent process (Balon, 2022, p. 3). His epi-
  gram, “Whatever you do, do it deliberately and consider the end” (Balon, 2022, p. 1) indicated
  his grasp of the central issue of our contribution—our concern about the proliferation of gender
  transitions undertaken in youth, despite the unknown long-term outcomes of these radical
  interventions. He sagely observed that in 2012, when the requirement for psychiatric evaluation
  was waived to enable patients to efficiently obtain hormones (Coleman et al., 2012), the pro-
  tection of patients and their families was jeopardized.
     Balon agreed that the process of medical gender transition of youth is often undertaken in
  a way that is not truly informed: “Similar to Levine et al. (2022), I am also not sure whether,
  with the increased incidence of gender identity variation, all parties involved in the informed
  consent process are well and appropriately informed and educated” (Balon, 2022, p. 1). He
  recognized the difficulty of obtaining informed consent from patients and families when the
  clinicians themselves do not have reliable information: “the word informed does not relate “just”
  to patients’ (and their families) side of the informed consent equation, but also to the clinicians’
  side. It is obvious that our state of knowledge regarding appropriate and timely gender transition
  (whatever the intervention is) and its consequences is not where we would like it to be” (Balon,
  2022, p. 1).
     Balon emphasized how far the field of gender medicine is from a rational dispassionate
  heuristic embrace of the disagreements: “It seems that most of the time ideology, emotions and
  personal convictions beat knowledge and evidence in these debates” (Balon, 2022, p. 3). Balon’s
  plain language summary of the current situation is apt: “Simply said, the ship has sailed, and
  we assume that its course is correct, and landing will be correct and the life after will be happy.
  Is that so, though?” (Balon, 2022, p. 1). Alarmed by the “possibility of underlying belief systems
  replacing scientific evidence,” Balon encouraged all parties to continue the scientific debate,
  “agree to disagree and through our disagreement and continuous study of gender and transgender
  issues continue to improve the care of our patients.” Balon reminded all those involved in the
  debate that there is “[u]ltimately, just one side to this debate…the patient side” (Balon, 2022, p. 3).


  Funding
  The author(s) reported there is no funding associated with the work featured in this article.
Case 2:22-cv-00184-LCB-CWB Document 560-13 Filed 05/27/24 Page 9 of 12
  8      S. B. LEVINE ET AL.


  Bibliography
  Anderson, E. (2022, January 3). Opinion: When it comes to trans youth, we’re in danger of losing our way. The
     San Francisco Examiner. Retrieved January 5, 2022, from http://www.sfexaminer.com/opinion/are-we-seeing-
     a-phenomenon-of-trans-youth-social-contagion/
  Ascha, M., Sasson, D. C., Sood, R., Cornelius, J. W., Schauer, J. M., Runge, A., Muldoon, A. L., Gangopadhyay,
     N., Simons, L., Chen, D., Corcoran, J. F., & Jordan, S. W. (2022). Top surgery and chest dysphoria among
     transmasculine and nonbinary adolescents and young adults. JAMA Pediatrics. Advance online publication.
     doi:10.1001/jamapediatrics.2022.3424
  Balshem, H., Helfand, M., Schünemann, H. J., Oxman, A. D., Kunz, R., Brozek, J., Vist, G. E., Falck-Ytter, Y.,
     Meerpohl, J., & Norris, S. (2011). GRADE guidelines: 3. Rating the quality of evidence. Journal of Clinical
     Epidemiology, 64(4), 401–406. doi:10.1016/j.jclinepi.2010.07.015
  Baker, K. E., Wilson, L. M., Sharma, R., Dukhanin, V., McArthur, K., & Robinson, K. A. (2021). Hormone
     therapy, mental health, and quality of life among transgender people: A systematic review. Journal of the
     Endocrine Society, 5(4), bvab011. doi:10.1210/jendso/bvab011
  Balon, R. (2022). Commentary on Levine et al: Festina Lente (rush slowly). Journal of Sex & Marital Therapy.
     Advance online publication. doi:10.1080/0092623X.2022.2055686.
  Becerra-Culqui, T. A., Liu, Y., Nash, R., Cromwell, L., Flanders, W. D., Getahun, D., Giammattei, S. V., Hunkeler,
     E. M., Lash, T. L., Millman, A., Quinn, V. P., Robinson, B., Roblin, D., Sandberg, D. E., Silverberg, M. J.,
     Tangpricha, V., & Goodman, M. (2018). Mental health of transgender and gender nonconforming youth com-
     pared with their peers. Pediatrics, 141(5), e20173845. doi:10.1542/peds.2017-3845\
  Berg, S. L. (2007). Ethical challenges in cancer research in children. The Oncologist, 12(11), 1336–1343. 10.1634/
     theoncologist.12-11-1336
  Biggs, M. (2021). Revisiting the effect of GnRH analogue treatment on bone mineral density in young adolescents
     with gender dysphoria. Journal of Pediatric Endocrinology and Metabolism, 0(0), 000010151520210180.
     doi:10.1515/jpem-2021-0180
  Block, J. (2022). US transgender health guidelines leave age of treatment initiation open to clinical judgment.
     BMJ (Clinical research ed.), 378, o2303. doi:10.1136/bmj.o2303
  Bonfatto, M., & Crasnow, E. (2018). Gender/ed identities: An overview of our current work as child psychother-
     apists in the Gender Identity Development Service. Journal of Child Psychotherapy, 44(1), 29–46. doi:10.1080
     /0075417X.2018.1443150
  Boyd, I. L., Hackett, T., & Bewley, S. (2021). Care of transgender patients: A general practice quality improvement
     approach. SSRN Electronic Journal. https://www.mdpi.com/2227-9032/10/1/121 doi:10.3390/healthcare10010121
  Boutron I, Page MJ, Higgins JPT, Altman DG, Lundh A, Hróbjartsson A. (2022). Chapter 7: Considering bias
     and conflicts of interest among the included studies. In: Higgins JPT, Thomas J, Chandler J, Cumpston M, Li
     T, Page MJ, Welch VA (Eds.), Cochrane, 2022. Cochrane Handbook for Systematic Reviews of Interventions
     version 6.3 (updated February 2022). Retrieved from www.training.cochrane.org/handbook.
  Bradley, S. J. (2022). Understanding vulnerability in girls and young women with high-functioning autism spec-
     trum disorder. Women, 2(1), 64–67. doi:10.3390/women2010007
  Brignardello-Peterson, R., & Wiercioch, W. (2022). Effects of gender affirming therapies in people with gender
     dysphoria: Evaluation of the best available evidence. https://ahca.myflorida.com/letkidsbekids/docs/AHCA_
     GAPMS_June_2022_Attachment_C.pdf
  Bryant, K. (2006). Making gender identity disorder of childhood: Historical lessons for contemporary debates.
     Sexuality Research and Social Policy, 3(3), 23–39. doi:10.1525/srsp.2006.3.3.23
  Cantor, J. M. (2020). Transgender and gender diverse children and adolescents: Fact-checking of AAP policy.
     Journal of Sex & Marital Therapy, 46(4), 307–313. 10.1080/0092623X.2019.1698481
  Cass, H. (2022). Entry 8 – Beyond the Headlines. Retrieved August 19, 2022, from https://cass.independent-review.
     uk/entry-8-beyond-the-headlines/
  Churcher Clarke, A., & Spiliadis, A. (2019). ‘Taking the lid off the box’: The value of extended clinical assessment
     for adolescents presenting with gender identity difficulties. Clinical Child Psychology and Psychiatry, 24(2),
     338–352. doi:10.1177/1359104518825288
  Clayton, A. (2022a). The gender affirmative treatment model for youth with gender Dysphoria: A medical advance
     or dangerous medicine? Archives of Sexual Behavior, 51(2), 691–698. doi:10.1007/s10508-021-02232-0
  Clayton, A. (2022b). Commentary on Levine et al.: A tale of two informed consent processes. Journal of Sex &
     Marital Therapy. Advance online publication. doi:10.1080/0092623X.2022.2070565
  Clayton, A., Malone, W. J., Clarke, P., Mason, J., & D’Angelo, R. (2022). Commentary: The signal and the soise—
     Questioning the benefits of puberty blockers for youth with gender dysphoria—A commentary on Rew et al.
     (2021). Child and Adolescent Mental Health, 27(3), 259–262. doi:10.1111/camh.12533
  COHERE (Council for Choices in Health Care). (2020). Palveluvalikoimaneuvoston Suositus: Alaikäisten
     Sukupuoli-identiteetin Variaatioihin Liittyvän Dysforian Lääketieteelliset Hoitomenetelmät. [Recommendation of
     the Council for Choices in Health Care in Finland: Medical Treatment Methods for Dysphoria Related to Gender
     Variance in Minors.]. https://segm.org/Finland_deviates_from_WPATH_prioritizing_psychotherapy_no_sur-
     gery_for_minors
Case 2:22-cv-00184-LCB-CWB Document 560-13 Filed 05/27/24 Page 10 of 12
                                                                          Journal of Sex & Marital Therapy         9


  Coleman, E., Bockting, W., Botzer, M., Cohen-Kettenis, P., DeCuypere, G., Feldman, J., & Zucker, K. (2012).
     Standards of Care for the Health of Transsexual, Transgender, and Gender-Nonconforming People, Version 7.
     International Journal of Transgenderism, (4), 165–232. doi:10.1080/15532739.2011.700873
  Coleman, E., Radix, A. E., Bouman, W. P., Brown, G. R., de Vries, A. L. C., Deutsch, M. B., Ettner, R., Fraser,
     L., Goodman, M., Green, J., Hancock, A. B., Johnson, T. W., Karasic, D. H., Knudson, G. A., Leibowitz, S. F.,
     Meyer-Bahlburg, H. F. L., Monstrey, S. J., Motmans, J., Nahata, L., … Arcelus, J. (2022). Standards of care for
     the health of transgender and gender diverse people, version 8. International Journal of Transgender Health,
     23(sup1), S1–S259. doi:10.1080/26895269.2022.2100644
  Davy, Z., & Toze, M. (2018). What is gender dysphoria? A critical systematic narrative review. Transgender Health,
     3(1), 159–169. doi:10.1089/trgh.2018.0014
  Dhejne, C., Öberg, K., Arver, S., & Landén, M. (2014). An analysis of all applications for sex reassignment
     surgery in Sweden, 1960–2010: Prevalence, incidence, and regrets. Archives of Sexual Behavior, 43(8), 1535–1545.
     doi:10.1007/s10508-014-0300-8
  de Graaf, N. M., Giovanardi, G., Zitz, C., & Carmichael, P. (2018). Sex ratio in children and adolescents referred
     to the gender identity development service in the UK (2009–2016). Archives of Sexual Behavior, 47(5), 1301–
     1304. doi:10.1007/s10508-018-1204-9
  de Graaf, N. M., Huisman, B., Cohen-Kettenis, P. T., Twist, J., Hage, K., Carmichael, P., Kreukels, B., & Steensma,
     T. D. (2021). Psychological functioning in non-binary identifying adolescents and adults. Journal of Sex &
     Marital Therapy, 47(8), 773–784. doi:10.1080/0092623X.2021.1950087
  de Vries, A. L. C., Cohen-Kettenis, P. T., Delemarre-van de Waal, H. (2016). Clinical management of gender
     dysphoria in adolescents. International Journal of Transgenderism, 9 (3-4), 83–94. doi:10.1300/J485v09n03_04.
  de Vries A. (2022). Ensuring care for transgender adolescents who need it: Response to ‘reconsidering informed
     consent for trans-identified children, adolescents and young adults’. Journal of Sex & Marital therapy. Advance
     online publication. doi:10.1080/0092623X.2022.2084479
  D’Angelo, R., Syrulnik, E., Ayad, S., Marchiano, L., Kenny, D. T., & Clarke, P. (2021). One size does not fit all:
     In support of psychotherapy for gender dysphoria. Archives of Sexual Behavior, 50(1), 7–16. doi:10.1007/
     s10508-020-01844-2
  Drescher, J., Cohen-Kettenis, P., & Winter, S. (2012). Minding the body: Situating gender identity diagnoses in
     the ICD-11. International Review of Psychiatry, 24(6), 568–577. doi:10.3109/09540261.2012.741575
  Drescher, J. (2022). Informed consent or scare tactics? A response to Levine et al.’s “Reconsidering informed
     consent for trans-identified children, adolescents, and young adults.” Journal of Sex & Marital Therapy. Advance
     online publication. doi:10.1080/0092623X.2022.2080780
  Drisko, J. W., & Friedman, A. (2019). Let’s clearly distinguish evidence-based practice and empirically supported
     treatments. Smith College Studies in Social Work, 89(3–4), 264–281. doi:10.1080/00377317.2019.1706316
  Erratum for TURBAN 2019-1725. (2021). Pediatrics, 147(4), e2020049767. doi:10.1542/peds.2020-049767
  Turban, J. L., King, D., Carswell, J. M., & Keuroghlian, A. S. (2020). Pubertal suppression for transgender youth
     and risk of suicidal ideation. Pediatrics, 145(2), e20191725. doi:10.1542/peds.2019-1725
  Evans, M. (2022). ‘If only I were a boy …’: Psychotherapeutic explorations of transgender in children and ado-
     lescents. British Journal of Psychotherapy, 38(2), 269–285. doi:10.1111/bjp.12733
  Frank, N. & Baker, K. (2018). What does the scholarly research say about the effect of gender transition on
     transgender well-being? What we know. Cornell University, Public Policy Research Portal. Retrieved September
     2, 2022, from https://whatweknow.inequality.cornell.edu/topics/lgbt-equality/what-does-the-scholarly-resear
     ch-say-about-the-well-being-of-transgender-people/
  GRADE Working Group. (2013). GRADE Handbook. Handbook for grading the quality of evidence and the
     strength of recommendations using the GRADE approach. H. Schünemann, J. Brożek, G. Guyatt and A. Oxman.
     https://gdt.gradepro.org/app/handbook/handbook.html
  Hakeem, A. (2012). Psychotherapy for gender identity disorders. Advances in Psychiatric Treatment, 18(1), 17–24.
     doi:10.1192/apt.bp.111.009431
  Hall, R., Mitchell, L., & Sachdeva, J. (2021). Access to care and frequency of detransition among a cohort dis-
     charged by a UK national adult gender identity clinic: Retrospective case-note review. BJPsych Open, 7(6),
     e184. doi:10.1192/bjo.2021.1022
  Health Policy Research Scholars (2019). Meet the scholars: Kellan Baker. Retrieved August 18, 2022, from https://
     healthpolicyresearch-scholars.org/meet-the-scholars-kellan-baker/.
  Hembree, W. C., Cohen-Kettenis, P. T., Gooren, L., Hannema, S. E., Meyer, W. J., Murad, M. H., Rosenthal, S.
     M., Safer, J. D., Tangpricha, V., & T’Sjoen, G. G. (2017). Endocrine treatment of gender-dysphoric/
     gender-incongruent persons: An endocrine society* clinical practice guideline. The Journal of Clinical
     Endocrinology & Metabolism, 102(11), 3869–3903. doi:10.1210/jc.2017-01658
  Hisle-Gorman, E., Landis, C. A., Susi, A., Schvey, N. A., Gorman, G. H., Nylund, C. M., & Klein, D. A. (2019).
     Gender dysphoria in children with autism spectrum disorder. LGBT Health, 6(3), 95–100. doi:10.1089/
     lgbt.2018.0252
  Jeffrey, S. (2003, January 8). Estrogen gets “‘black-box’” warning. Medscape. Retrieved October 5, 2022, from
     https://www.medscape.com/viewarticle/785840
Case 2:22-cv-00184-LCB-CWB Document 560-13 Filed 05/27/24 Page 11 of 12
  10      S. B. LEVINE ET AL.


  Kaltiala-Heino, R., Sumia, M., Työläjärvi, M., & Lindberg, N. (2015). Two years of gender identity service for
     minors: Overrepresentation of natal girls with severe problems in adolescent development. Child and Adolescent
     Psychiatry and Mental Health, 9(1), 9. doi:10.1186/s13034-015-0042-y
  Klink, D., Caris, M., Heijboer, A., van Trotsenburg, M., & Rotteveel, J. (2015). Bone mass in young adulthood
     following gonadotropin-releasing hormone analog treatment and cross-sex hormone treatment in adolescents
     with gender dysphoria. The Journal of Clinical Endocrinology & Metabolism, 100(2), E270–E275. doi:10.1210/
     jc.2014-2439
  Korte, A., Goecker, D., Krude, H., Lehmkuhl, U., Grüters-Kieslich, A., & Beier, K. M. (2008). Gender identity
     disorders in childhood and adolescence. Deutsches Ärzteblatt International, 105(48), 834–841. doi:10.3238/
     arztebl.2008.0834
  Kozlowska, K., Chudleigh, C., McClure, G., Maguire, A. M., & Ambler, G. R. (2021). Attachment patterns in
     children and adolescents with gender dysphoria. Frontiers in psychology, 11, 582688. doi:10.3389/fpsyg.2020.582688
  Lemma, A. (2018). Trans-itory identities: Some psychoanalytic reflections on transgender identities. The International
     Journal of Psychoanalysis, 99(5), 1089–1106. doi:10.1080/00207578.2018.1489710
  Levine, S. B., Abbruzzese, E., & Mason, J. M. (2022). Reconsidering informed consent for trans-identified children,
     adolescents, and young adults. Journal of Sex & Marital Therapy, 48(7), 706–727. doi:10.1080/009262
     3X.2022.2046221
  Littman, L. (2018). Parent reports of adolescents and young adults perceived to show signs of a rapid onset of
     gender dysphoria. Plos One, 13(8), e0202330. doi:10.1371/journal.pone.0202330
  Littman, L. (2021). Individuals treated for gender dysphoria with medical and/or surgical transition who subse-
     quently detransitioned: A survey of 100 detransitioners. Archives of Sexual Behavior, 50(8), 3353–3369.
     doi:10.1007/s10508-021-02163-w
  London, A. J. (2017). Equipoise in research: Integrating ethics and science in human research. JAMA, 317(5),
     525. doi:10.1001/jama.2017.0016
  Maher, B. (2022). New rule: Along for the pride | Real time with Bill Maher (HBO). Retrieved September 7,
     2022, from https://www.youtube.com/watch?v=mMBzfUj5zsg
  National Institute for Health and Care Excellence (NICE). (2020a). Evidence review: Gonadotrophin releasing
     hormone analogues for children and adolescents with gender dysphoria. https://web.archive.org/web/20220414202655/
     https://arms.nice.org.uk/resources/hub/1070905/attachment
  National Institute for Health and Care Excellence (NICE). (2020b). Evidence review: Gender-affirming hormones
     for children and adolescents with gender dysphoria. https://web.archive.org/web/20220215111922/https://arms.
     nice.org.uk/resources/hub/1070871/attachment
  Nokoff, N., Ma, N., Moreau, K., & Rothman, M. S. (2022). Bone mineral density in transgender youth on gender
     affirming therapies. https://www.endocrine.org/news-and-advocacy/news-room/2022/longer-treatment-with-pubert
     y-delaying-medication-leads-to-lower-bone-mineral-density
  Nokoff, N. J., Scarbro, S. L., Moreau, K. L., Zeitler, P., Nadeau, K. J., Reirden, D., Juarez-Colunga, E., & Kelsey,
     M. M. (2021). Body composition and markers of cardiometabolic health in transgender youth on
     gonadotropin-releasing hormone agonists. Transgender Health, 6(2), 111–119. doi:10.1089/trgh.2020.0029
  Olson-Kennedy, J., Chan, Y.-M., Garofalo, R., Spack, N., Chen, D., Clark, L., Ehrensaft, D., Hidalgo, M., Tishelman,
     A., & Rosenthal, S. (2019). Impact of early medical treatment for transgender youth: Protocol for the longi-
     tudinal, observational trans youth care study. JMIR Research Protocols, 8(7), e14434. doi:10.2196/14434
  Olson-Kennedy, J., Warus, J., Okonta, V., Belzer, M., & Clark, L. F. (2018). Chest reconstruction and chest dys-
     phoria in transmasculine minors and young adults: Comparisons of nonsurgical and postsurgical cohorts.
     JAMA Pediatrics, 172(5), 431. doi:10.1001/jamapediatrics.2017.5440
  Paris, J. (2015). The intelligent clinician’s guide to the DSM-5®, edn (New York, online edn, Oxford Academic).
     doi:10.1093/med/9780199395095.001.0001
  Pasternack, I., Söderström, I., Saijonkari, M., & Mäkelä, M. (2019). Lääketieteelliset menetelmät sukupuolivariaa-
     tioihin liittyvän dysforian hoidossa. Systemaattinen katsaus. [Medical approached to treatment of dysphoria re-
     lated to gender variations. A systematic review.]. 106. https://app.box.com/s/y9u791np8v9gsunwgpr2kqn8swd9vdtx
  Reed, S., Guyatt, G. (n.d.). What is GRADE | BMJ Best Practice. Retrieved September 9, 2022, from https://
     bestpractice.bmj.com/info/toolkit/learn-ebm/what-is-grade/
  Rew, L., Young, C. C., Monge, M., & Bogucka, R. (2021). Review: Puberty blockers for transgender and gender
     diverse youth—A critical review of the literature. Child and Adolescent Mental Health, 26(1), 3–14. doi:10.1111/
     camh.12437
  Ristori, J., & Steensma, T. D. (2016). Gender dysphoria in childhood. International Review of Psychiatry, 28(1),
     13–20. doi:10.3109/09540261.2015.1115754
  Roberts, C. M., Klein, D. A., Adirim, T. A., Schvey, N. A., & Hisle-Gorman, E. (2022). Continuation of
     gender-affirming hormones among transgender adolescents and adults. The Journal of Clinical Endocrinology
     & Metabolism, 107(9), e3937–e3943. doi:10.1210/clinem/dgac251
  SBU [Agency for Health Technology Assessment and Assessment of Social Services]. (2022). Hormonbehandling
     vid könsdysfori—Barn och unga En systematisk översikt och utvärdering av medicinska aspekter [Hormone ther-
     apy at gender dysphoria—Children and young people A systematic review and evaluation of medical aspects].
Case 2:22-cv-00184-LCB-CWB Document 560-13 Filed 05/27/24 Page 12 of 12
                                                                          Journal of Sex & Marital Therapy          11


     https://www.sbu.se/contentassets/ea4e698fa0c4449aaae964c5197cf940/hormonbehandling-vid-konsdysfori_barn-oc
     h-unga.pdf
  Schwartz, D. (2021). Clinical and ethical considerations in the treatment of gender dysphoric children and ad-
     olescents: When doing less is helping more. Journal of Infant, Child, and Adolescent Psychotherapy, 20(4),
     439–449. doi:10.1080/15289168.2021.1997344
  Singh, D., Bradley, S. J., & Zucker, K. J. (2021). A follow-up study of boys with gender identity disorder. Frontiers
     in Psychiatry, 12, 632784. doi:10.3389/fpsyt.2021.632784
  Spiliadis, A. (2019). Towards a gender exploratory model: Slowing things down, opening things up and explor-
     ing identity development. Metalogos Systemic Therapy Journal, 35, 1–9. https://www.researchgate.net/publica-
     tion/334559847_Towards_a_Gender_Exploratory_Model_slowing_things_down_opening_things_up_and_explor-
     ing_identity_development
  Socialstyrelsen. (2022a). Care of children and adolescents with gender dysphoria – Summary. Retrieved July 22,
     2022, from https://www.socialstyrelsen.se/globalassets/sharepoint-dokument/artikelkatalog/kunskapss-
     tod/2022-3-7799.pdf
  Socialstyrelsen. (2022b, September 26). God vård vid könsdysfori hos barn och ungdomar [Good care for gender
     dysphoria in children and young people]. DRAFT, p. 22.
  Strang, J. F., Powers, M. D., Knauss, M., Sibarium, E., Leibowitz, S. F., Kenworthy, L., Sadikova, E., Wyss, S.,
     Willing, L., Caplan, R., Pervez, N., Nowak, J., Gohari, D., Gomez-Lobo, V., Call, D., & Anthony, L. G. (2018).
     “They thought it was an obsession”: Trajectories and perspectives of autistic transgender and gender-diverse
     adolescents. Journal of autism and developmental disorders, 48(12), 4039–4055. doi:10.1007/s10803-018-3723-6
  Tang, A., Hojilla, J. C., Jackson, J. E., Rothenberg, K. A., Gologorsky, R. C., Stram, D. A., Mooney, C. M.,
     Hernandez, S. L., & Yokoo, K. M. (2022). Gender-affirming mastectomy trends and surgical outcomes in
     adolescents. Annals of Plastic Surgery, 88, 7. https://journals.lww.com/annalsplasticsurgery/Abstract/2022/05004/
     Gender_Affirming_Mastectomy_Trends_and_Surgical.4.aspx
  Thrower, E., Bretherton, I., Pang, K. C., Zajac, J. D., & Cheung, A. S. (2020). Prevalence of autism spectrum
     disorder and attention-deficit hyperactivity disorder amongst individuals with gender dysphoria: A systematic
     review. Journal of Autism and Developmental Disorders, 50(3), 695–706. doi:10.1007/s10803-019-04298-1
  Togun, A., Sankar, A., & Karaca-Mandic, P. (2022). FDA safety warnings and trends in testosterone marketing
     to physicians. The American Journal of Managed Care, 28(3), e78–e79. doi:10.37765/ajmc.2022.88841
  Turban, J. L., Almazan, A. N., Reisner, S. L., & Keuroghlian, A. S. (2022). The importance of non-probability
     samples in minority health research: lessons learned from studies of transgender and gender diverse mental
     health. Transgender Health. Advance online publication. doi:10.1089/trgh.2021.0132
  Turban, J. L., Loo, S. S., Almazan, A. N., & Keuroghlian, A. S. (2021). Factors leading to “Detransition” among
     transgender and gender diverse people in the United States: A mixed-methods analysis. LGBT Health, 8(4),
     273–280. doi:10.1089/lgbt.2020.0437
  Vandenbussche, E. (2022). Detransition-related needs and support: A cross-sectional online survey. Journal of
     Homosexuality, 69(9), 1602–1620. doi:10.1080/00918369.2021.1919479
  Wiepjes, C. M., Nota, N. M., de Blok, C. J. M., Klaver, M., de Vries, A. L. C., Wensing-Kruger, S. A., de Jongh,
     R. T., Bouman, M.-B., Steensma, T. D., Cohen-Kettenis, P., Gooren, L. J. G., Kreukels, B. P. C., & den Heijer,
     M. (2018). The Amsterdam cohort of gender dysphoria study (1972–2015): Trends in prevalence, treatment,
     and regrets. The Journal of Sexual Medicine, 15(4), 582–590. doi:10.1016/j.jsxm.2018.01.016
  World Professional Association for Transgender Health (WPATH). (2018). WPATH POSITION ON “Rapid-Onset
     Gender Dysphoria (ROGD)”. Retrieved July 11, 2022, from https://www.wpath.org/media/cms/Documents/
     Public%20Policies/2018/9_Sept/WPATH%20Position%20on%20Rapid-Onset%20Gender%20Dysphoria_9-4-2018.
     pdf
  Zheng, S. L., & Roddick, A. J. (2019). Association of aspirin use for primary prevention with cardiovascular
     events and bleeding events: A systematic review and meta-analysis. JAMA, 321(3), 277. doi:10.1001/
     jama.2018.20578
  Zucker, K. J. (2010). The DSM diagnostic criteria for gender identity disorder in children. Archives of Sexual
     Behavior, 39(2), 477–498. doi:10.1007/s10508-009-9540-4
